Case 2:22-cv-01141 Document 1-2 Filed 08/15/22 Page 1 of 34




                   EXHIBIT A
                  Case 2:22-cv-01141 Document 1-2 Filed 08/15/22 Page 2 of 34


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                                      CASE #: 21-2-04263-1 SEA
 5
                    IN THE SUPERIOR COURT OF THE STATE OF WASHINGTON
 6                            IN AND FOR THE COUNTY OF KING

 7   JAVIER TAPIA,                               NO. 21-2-04263-1 SEA

 8   Plaintiff,                                  FIRST AMENDED COMPLAINT

 9   v.                                          JURY DEMANDED

10   NAPHCARE, INC., an Alabama Corporation;
     PIERCE COUNTY, a political subdivision of
11   the State of Washington; PAUL PASTOR, in
     his personal capacity; ROB MASKO, in his
12   Personal Capacity; KAREN DANIELS, in her
     Personal Capacity; JIM MCLANE, in his
13   Personal Capacity; SUSANNE MOORE, in her
     Personal Capacity; MARSHA BURGESS, in
14   her Personal Capacity; AMBER H. SIMPLER,
     in her Personal Capacity; JEFFREY
15   ALVAREZ, in his Personal Capacity;
     BRADFORD T. MCLANE, in his Personal
16   Capacity; CORNELIUS HENDERSON, in his
     Personal Capacity; ELLIOT WADE, in his
17   Personal Capacity; CAMERON CARRILLO,
     in his Personal Capacity; ELIZABETH
18   WARREN, in her Personal Capacity; DEBRA
     RICCI in her Personal Capacity; RICK
19   OELTJEN, in his Personal Capacity; DUANE
     PRATHER, in his Personal Capacity;
20   DARREN NEALIS, in his Personal Capacity;
     JESUS PEREZ, in his Personal Capacity;
21   MIGUEL BALDERRAMA, in his Personal
     Capacity; JOHN and JANE DOES 1-10, in
22   their Personal Capacities,

23   Defendants.

24

25   FIRST AMENDED COMPLAINT - 1                                 Galanda Broadman PLLC
     (NO. 21-2-04263-1 SEA)                                      8606 35th Avenue NE, Ste. L1
                                                                 Mailing: P.O. Box 15146
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                  Case 2:22-cv-01141 Document 1-2 Filed 08/15/22 Page 3 of 34


 1           COMES NOW the above-named Plaintiff, pursuant to Fed. R. Civ. P. 15(a)(2), by and

 2   through attorneys Ryan D. Dreveskracht and Corinne Sebren, of Galanda Broadman, PLLC, and

 3   by way of claim alleges upon personal knowledge as to himself and his own actions, and upon

 4   information and belief upon all other matters, as follows:

 5                                             I.      PARTIES

 6   A.      PLAINTIFF

 7           1.      JAVIER TAPIA is an adult residing in Pierce County, Washington. This is an action

 8   arising from Javier’s easily preventable injuries and the Defendants’ negligence, gross negligence,

 9   and deliberate indifference to Javier’s serious medical condition. The claims herein include all

10   claims for damages available under Washington and federal law.

11   B.      PIERCE COUNTY DEFENDANTS

12           2.      Defendant PIERCE COUNTY is a municipal corporation responsible for

13   administering the Pierce County Jail (“Jail”). The Jail is an adult corrections facility that is required

14   to provide proper custody, control, and supervision for county, state, and federal inmates in Pierce

15   County. Pierce County is, and was at all times mentioned herein, responsible for the actions or

16   inactions, and the policies, procedures, and practices/customs of all health services relating to the

17   Jail, including the provision medical treatment at outside facilities when necessary. Although

18   Pierce County has attempted to privatize the provision of healthcare services to Defendant

19   NAPHCARE, INC., it cannot contract-away its constitutional obligations and is legally liable for

20   the negligence and constitutional violations committed by such providers.

21           3.      Defendant PAUL PASTOR is the Pierce County Sheriff.                      He supervised,

22   administrated, and managed all Pierce County employees and corrections facilities at the time of

23   Javier’s injuries and was responsible for ensuring the presence and implementation of proper

24   policies, procedures, and training.      Defendant Pastor was also responsible for the training,

25   FIRST AMENDED COMPLAINT - 2                                                 Galanda Broadman PLLC
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                 Case 2:22-cv-01141 Document 1-2 Filed 08/15/22 Page 4 of 34


 1   supervision, and discipline of Pierce County employees and/or agents, including the below

 2   individually named Jailer Defendants, and John and Jane Does 1 through 5. He has approved and

 3   ratified the acts and omissions of the employees and contractors described below. He is sued in his

 4   personal capacity only.

 5          4.      Defendant ROB MASKO is Pierce County’s Undersheriff.                 He supervised,

 6   administrated, and managed all Pierce County employees and corrections facilities at the time of

 7   Javier’s injuries, and was responsible for ensuring the presence and implementation of proper

 8   policies, procedures, and training.   Defendant Masko was also responsible for the training,

 9   supervision, and discipline of Pierce County employees and/or agents, including the below

10   individually named Jailer Defendants, and John and Jane Does 1 through 5. He has approved and

11   ratified the acts and omissions of the employees and contractors described below. He is sued in his

12   personal capacity only.

13          5.      Defendant KAREN DANIELS is Pierce County’s Chief of Corrections.                       She

14   supervised, administrated, and managed all Pierce County employees and corrections facilities at

15   the time of Javier’s injuries, and was responsible for ensuring the presence and implementation of

16   proper policies, procedures, and training. Defendant Daniels was also responsible for the training,

17   supervision, and discipline of Pierce County employees and/or agents, including the below

18   individually named Jailer Defendants, and John and Jane Does 1 through 5. She has approved and

19   ratified the acts and omissions of the employees and contractors described below. She is sued in

20   his personal capacity only.

21          6.      Defendant LARRY WHITE is Pierce County’s Corrections Sergeant.                         He

22   supervised, administrated, and managed all Pierce County employees and corrections facilities at

23   the time of Javier’s injuries, and was responsible for ensuring the presence and implementation of

24   proper policies, procedures, and training. Defendant White was also responsible for the training,

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                 Case 2:22-cv-01141 Document 1-2 Filed 08/15/22 Page 5 of 34


 1   supervision, and discipline of Pierce County employees and/or agents, including the below

 2   individually named Jailer Defendants, and John and Jane Does 1 through 5. He has approved and

 3   ratified the acts and omissions of the employees and contractors described below. He is sued in his

 4   personal capacity only.

 5          7.      Defendants PASTOR, MASKO, DANIELS, and WHITE shall be referred to

 6   collectively as “County Policymaking Defendants.”          At all material times, each County

 7   Policymaking Defendant acted under color of law and was a state actor.

 8          8.      Defendants RICK OELTJEN, DUANE PRATHER, DARREN NEALIS, JESUS

 9   PEREZ, and MIGUEL BALDERRAMA (“County Jailer Defendants,” together with County

10   Policymaking Defendants referred to as “County Defendants”) at all times material to this lawsuit

11   were employees of Pierce County and were responsible for providing for Javier’s safety and

12   security. County Jailer Defendants knew that Javier was in need of medical assistance but were

13   deliberately indifferent to his serious medical condition and/or were otherwise negligent. At all

14   times, County Jailer Defendants were agents and/or employees of Pierce County and were

15   responsible for keeping Javier safe and in good health during his incarceration. At all material

16   times, County Jailer Defendants were acting under color of state law. The actions and omissions

17   alleged in this Amended Complaint to have been carried out by the County Defendants were carried

18   out by themselves, personally, and/or with their knowledge, information, consent, or approval, and

19   in violation of their obligations under, inter alia, the U.S. Constitution and Washington State

20   common law.

21          9.      Defendants JOHN and JANE DOES 1–5 are subcontractors, employees, and/or

22   agents of Pierce County. These County Defendants Doe are persons who knew that Javier was in

23   the need of medical care. In spite of this knowledge, these County Defendants Doe took no steps

24   to prevent serious injury to Javier. Each County Defendant Doe was negligent; deliberately

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                  Case 2:22-cv-01141 Document 1-2 Filed 08/15/22 Page 6 of 34


 1   indifferent; acted in furtherance of an official and/or de facto policy or procedure of deliberate

 2   indifference; and/or was responsible for the promulgation of the policies and procedures and

 3   permitted the customs/practices pursuant to which the acts alleged herein were committed. The

 4   identities of County Defendants Doe are unknown at this time and will be named as discovery

 5   progresses. These County Defendants Doe are sued in their personal capacities only.

 6   C.     NAPHCARE, INC. DEFENDANTS

 7          10.     Defendant NAPHCARE, INC. (“NaphCare”) is a limited partnership organized

 8   under the laws of the State of Alabama, licensed and doing business in the State of Washington as

 9   a foreign for-profit corporation.

10                  a.      NaphCare is in the business of providing healthcare services to jail and

11          prison facilities throughout the United States, including the Pierce County Jail (“Jail”). That

12          is, instead of maintaining their own staff of doctors, nurses, and other health professionals,

13          corrections facilities across the Nation hire NaphCare as an independent contractor to

14          undertake the day-to-day responsibilities of providing their inmates with medical and

15          mental healthcare.

16                  b.      The services provided by NaphCare range from physician and nursing

17          services, dental care, mental health/psychiatric care, pharmaceuticals, utilization

18          management, and administrative support.

19                  c.      The Jail has such an arrangement with NaphCare, as do various institutions

20          in the twenty-three states that NaphCare has entered into fixed-cost contracts with. These

21          contracts are structured to provide an incentive to minimize the cost of care for the

22          corrections institutions—and to maximize profits NaphCare’s profits.            Last year, for

23          instance, NaphCare took in roughly $300 million in annual revenue.

24

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                  Case 2:22-cv-01141 Document 1-2 Filed 08/15/22 Page 7 of 34


 1                   d.       The County’s contract with NaphCare required that the County pay millions

 2           of dollars for NaphCare’s services for calendar year 2019. In return, NaphCare guaranteed

 3           that its services would comport with the standard of care.

 4                   e.       According to Defendant Jim MCLANE, NaphCare’s Founder, Owner, and

 5           Chairman of the Board, NaphCare is so profitable because it puts up “barriers so that

 6           [inmates] do not avail themselves to unnecessary treatment.”1

 7                   f.       NaphCare has been on notice for over a decade that its procedures, practices,

 8           and customs are deliberately indifferent to the rights and safety of inmates—having been a

 9           named defendant in over 250 lawsuits for this precise conduct.

10                   g.       NaphCare has a long, documented history of civil rights and medical

11           negligence suits against them, and a body count arising from substandard medical care and

12           neglect in Alabama, Nevada, Virginia, Texas, and Washington jails and prisons.

13                   h.       According to a 2019 report: “NaphCare regularly swoops in to take over

14           troubled providers’ contracts in the wake of scandal.”2 This is exactly what occurred here,

15           when Pierce County ended its contract with Correct Care Solutions following a string of

16           inmate deaths.

17                   i.       In providing medical care for inmates, NaphCare was acting under the color

18           of state law.

19                   j.       NaphCare is duly registered and conducts business as a health care provider

20           in Washington state as defined by RCW 7.70 et seq., and provided mental health services

21           and medical care to Javier, as contracted for by Defendant Pierce County.

22

23   1
       Jenifer Park, NaphCare Inc.: Prisons, Jails are its Marketplace, BIRMINGHAM BUSINESS JOURNAL, May 7, 2000,
     https://www.bizjournals.com/birmingham/stories/2000/05/08/focus4.html.
24   2
        Tara Herivel, Profits and Preventable Deaths in Oregon Jails, STREET ROOTS, Jan. 18, 2019,
     https://www.streetroots.org/news/2019/01/18/profits-and-preventable-deaths-oregon-jails.
25   FIRST AMENDED COMPLAINT - 6                                                        Galanda Broadman PLLC
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                  Case 2:22-cv-01141 Document 1-2 Filed 08/15/22 Page 8 of 34


 1          11.     Defendant JIM MCLANE is the Founder, Owner, and Chairman of the Board for

 2   NaphCare. In that position, Defendant McLane is responsible for establishing and has final

 3   approval on policies, procedures, and practices for NaphCare; oversees the delivery of medical,

 4   mental health and dental care in all NaphCare-served facilities, including standards of medical care

 5   and utilization review; and works with the key stakeholders across the Nation in ensuring that

 6   NaphCare turns a profit, at patient expense. As a policymaker, Defendant MCLANE set in place

 7   an established practice of putting profit over care and putting vulnerable patients at risk of serious

 8   harm or death. This established practice was due to his deliberate indifference to these detainees.

 9   He acted in a tortious and constitutionally violative fashion in formulating, administering, and

10   ratifying policies, procedures, practices, and customs within NaphCare that are deliberately

11   indifferent to the rights and safety of pretrial detainees. He is sued in his personal capacity only.

12          12.     Defendant SUSANNE MOORE is the Executive Vice President & Chief Operating

13   Officer at NaphCare. In that position, Defendant MOORE is responsible for establishing and has

14   final approval on policies, procedures, and practices for NaphCare; oversees the delivery of

15   medical, mental health and dental care in all NaphCare-served facilities, including standards of

16   medical care and utilization review; and works with the key stakeholders across the Nation in

17   ensuring that NaphCare turns a profit, at patient expense. As a policymaker, Defendant MOORE

18   set in place and furthered an established company-wide practice of putting profit over care and

19   putting vulnerable patients at risk of serious harm or death. This established practice was due to her

20   deliberate indifference to these detainees. She acted in a tortious and constitutionally violative

21   fashion in formulating, administering, and ratifying policies, procedures, practices, and customs

22   within NaphCare that are deliberately indifferent to the rights and safety of pretrial detainees. She

23   is sued in her personal capacity only.

24

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                  Case 2:22-cv-01141 Document 1-2 Filed 08/15/22 Page 9 of 34


 1          13.     Defendant MARSHA BURGESS is the Chief Nursing Officer at NaphCare. In that

 2   position, Defendant BURGESS is responsible for establishing and has final approval on policies,

 3   procedures, and practices for NaphCare; oversees the delivery of nursing care in all NaphCare-

 4   served facilities, including standards of medical care and utilization review; and works with the key

 5   stakeholders across the Nation in ensuring that NaphCare turns a profit, at patient expense. As a

 6   policymaker, Defendant BURGESS set in place and furthered an established company-wide

 7   practice of putting profit over care and putting vulnerable patients at risk of serious harm or death.

 8   This established practice was due to her deliberate indifference to these detainees. She acted in a

 9   tortious and constitutionally violative fashion in formulating, administering, and ratifying policies,

10   procedures, practices, and customs within NaphCare that are deliberately indifferent to the rights

11   and safety of pretrial detainees. She is sued in her personal capacity only.

12          14.     Defendant JEFFREY ALVAREZ is the Chief Medical Officer at NaphCare. In that

13   position, Defendant ALVAREZ is responsible for establishing and has final approval on policies,

14   procedures, and practices for NaphCare; oversees the delivery of medical care in all NaphCare-

15   served facilities, including standards of medical care and utilization review; and works with the key

16   stakeholders across the Nation in ensuring that NaphCare turns a profit, at patient expense. As a

17   policymaker, Defendant ALVAREZ set in place and furthered an established company-wide

18   practice of putting profit over care and putting vulnerable patients at risk of serious harm or death.

19   This established practice was due to his deliberate indifference to these detainees. He acted in a

20   tortious and constitutionally violative fashion in formulating, administering, and ratifying policies,

21   procedures, practices, and customs within NaphCare that are deliberately indifferent to the rights

22   and safety of pretrial detainees. He is sued in his personal capacity only.

23          15.     Defendant BRADFORD T. MCLANE is the Chief Executive Officer at NaphCare.

24   In that position, Defendant MCLANE is responsible for establishing and has final approval on

25   FIRST AMENDED COMPLAINT - 8                                               Galanda Broadman PLLC
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                  Case 2:22-cv-01141 Document 1-2 Filed 08/15/22 Page 10 of 34


 1   policies, procedures, and practices for NaphCare; oversees the delivery of medical and mental

 2   healthcare in all NaphCare-served facilities, including standards of medical care and utilization

 3   review; and works with the key stakeholders across the Nation in ensuring that NaphCare turns a

 4   profit, at patient expense. As a policymaker, Defendant MCLANE set in place and furthered an

 5   established company-wide practice of putting profit over care and putting vulnerable patients at risk

 6   of serious harm or death. This established practice was due to his deliberate indifference to these

 7   detainees.    He acted in a tortious and constitutionally violative fashion in formulating,

 8   administering, and ratifying policies, procedures, practices, and customs within NaphCare that are

 9   deliberately indifferent to the rights and safety of pretrial detainees. He is sued in his personal

10   capacity only.

11          16.       Defendant CORNELIUS HENDERSON is NaphCare’s Senior Vice President of

12   Jail Operations. In that position, Defendant HENDERSON is responsible for establishing and has

13   final approval on policies, procedures, and practices for NaphCare; oversees the delivery of

14   medical, mental health, and dental care in all NaphCare-served facilities, including standards of

15   medical care and utilization review; and works with the key stakeholders across the Nation in

16   ensuring that NaphCare turns a profit, at patient expense.           As a policymaker, Defendant

17   HENDERSON set in place and furthered an established company-wide practice of putting profit

18   over care and putting vulnerable patients at risk of serious harm or death. This established practice

19   was due to his deliberate indifference to these detainees. He acted in a tortious and constitutionally

20   violative fashion in formulating, administering, and ratifying policies, procedures, practices, and

21   customs within NaphCare that are deliberately indifferent to the rights and safety of pretrial

22   detainees. He is sued in his personal capacity only.

23          17.       Defendant GINA SAVAGE is NaphCare’s Vice President of Administration. In that

24   position, Defendant SAVAGE is responsible for establishing and has final approval on policies,

25   FIRST AMENDED COMPLAINT - 9                                               Galanda Broadman PLLC
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                  Case 2:22-cv-01141 Document 1-2 Filed 08/15/22 Page 11 of 34


 1   procedures, and practices for NaphCare; oversees the delivery of medical, mental health, and dental

 2   care in all NaphCare-served facilities, including standards of medical care and utilization review;

 3   and works with the key stakeholders across the Nation in ensuring that NaphCare turns a profit, at

 4   patient expense. As a policymaker, Defendant SAVAGE set in place and furthered an established

 5   company-wide practice of putting profit over care and putting vulnerable patients at risk of serious

 6   harm or death. This established practice was due to his deliberate indifference to these detainees.

 7   She acted in a tortious and constitutionally violative fashion in formulating, administering, and

 8   ratifying policies, procedures, practices, and customs within NaphCare that are deliberately

 9   indifferent to the rights and safety of pretrial detainees. She is sued in her personal capacity only.

10          18.      Defendant ELLIOT WADE is NaphCare’s Corporate Medical Director. In that

11   position, Defendant WADE is responsible for establishing and has final approval on policies,

12   procedures, and practices for NaphCare; oversees the delivery of medical, mental health, and dental

13   care in all NaphCare-served facilities, including standards of medical care and utilization review;

14   and works with the key stakeholders across the Nation in ensuring that NaphCare turns a profit, at

15   patient expense. As a policymaker, Defendant WADE set in place and furthered an established

16   company-wide practice of putting profit over care and putting vulnerable patients at risk of serious

17   harm or death. This established practice was due to his deliberate indifference to these detainees.

18   He acted in a tortious and constitutionally violative fashion in formulating, administering, and

19   ratifying policies, procedures, practices, and customs within NaphCare that are deliberately

20   indifferent to the rights and safety of pretrial detainees. He is sued in his personal capacity only.

21          19.      Defendants MCCLAIN, MOORE, BURGES, SIMPLER, ALVAREZ, MCLANE,

22   HENDERSON, and WADE shall be referred to collectively as “NaphCare Policymaking

23   Defendants.” At all material times, each NaphCare Policymaking Defendant acted under color of

24   law and was a state actor.

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                  Case 2:22-cv-01141 Document 1-2 Filed 08/15/22 Page 12 of 34


 1          20.      Individually    named    Defendants     CAMERON         CARRILLO,         ELIZABETH

 2   WARREN, and DEBRA RICCI (“NaphCare Defendants”) are employees or subcontractors of

 3   NaphCare. They were at all material times state actors. These NaphCare Defendants knew that

 4   Javier was in need of medical care. In spite of this knowledge, these NaphCare Defendants took

 5   no steps to prevent serious injury to Javier.        These NaphCare Defendants were negligent;

 6   deliberately indifferent; and/or acted in furtherance of an official and/or de facto policy or procedure

 7   of deliberate indifference. These Defendants are sued in their personal capacities only.

 8          21.      Defendants JOHN and JANE DOES 5–10 are subcontractors, employees, and/or

 9   agents of NaphCare. These NaphCare Defendants Doe are persons who knew that Javier was in

10   the need of medical care. In spite of this knowledge, these NaphCare Defendants Doe took no steps

11   to prevent serious injury to Javier. Each NaphCare Defendant Doe was negligent; deliberately

12   indifferent; acted in furtherance of an official and/or de facto policy or procedure of deliberate

13   indifference; and/or were responsible for the promulgation of the policies and procedures and

14   permitted the customs/practices pursuant to which the acts alleged herein were committed. The

15   identities of NaphCare Defendants Doe unknown at this time and will be named as discovery

16   progresses. These NaphCare Defendants Doe are sued in their personal capacities only.

17                                  II.    JURISDICTION AND VENUE

18          22.      Plaintiff Javier Tapia has filed a standard tort claim with the Pierce County Risk

19   Management, pursuant to Chapter 4.96 RCW. More than sixty (60) days have elapsed since the

20   claim was filed. The notice of claim provisions required by RCW 4.96.020 have been satisfied.

21          23.      The Superior Court of King County, Washington has jurisdiction over this matter

22   pursuant to RCW 2.08.010.

23          24.      Venue is proper in King County pursuant to RCW 4.12.025.

24

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                     Case 2:22-cv-01141 Document 1-2 Filed 08/15/22 Page 13 of 34


 1                                               III.    FACTS

 2   A.        JAVIER’S INCARCERATION AND HOSPITALIZATION.

 3             25.      On June 16, 2018, Javier was arrested for driving a stolen vehicle and outstanding

 4   Washington State Department of Corrections (“DOC”) warrants. He was booked into the Pierce

 5   County Jail (“Jail”) as a pretrial detainee at approximately 2:00 a.m.

 6             26.      Registered Nurse Etsuko Yagi conducted a mental health screening, indicating that

 7   Javier had not previously “[h]ad any treatment for mental health issues,” been “psychiatric

 8   hospitaliz[ed],” or experienced any “delusional thought processes or psychosis.”

 9             27.      Javier’s incarceration was largely unremarkable until September 10, when

10   Corrections Deputy Willie Alley observed that he “[s]eem[ed] to have difficulty following simple

11   rules such as 1400hrs lockdown.”

12             28.      On September 14, Javier put in a sick call request, complaining of “insomnia.”

13   Nurse Jesus Perez canceled the appointment, instructing Javier “to kite MH office with current

14   needs.”

15             29.      On September 17, Corrections Deputy Jonathon Knight made the following entry in

16   Javier’s chart:

17             I observed Inmate Tapia, Javier get off his bunk and throw his hands in the air and
               roll on to the floor near his bunk and begin to flail around and roll all around the
18             floor. I called for an escort to step in due to his odd behavior and unknown mental
               state. As I approached him he was laying down in the fetal position and I told him
19             to get up and he just stared at me. I gained control of his right arm and he started
               crying and mumbling unintelligibly. I then gained control of his other arm and
20             assisted him up and applied wrist restraints without incident. On the way out of the
               Unit he mumbled a few unintelligible remarks and was tearful and was acting very
21             strange. I escorted him out of the unit and he was placed in a timeout cell by
               responding deputies.
22
               30.      Javier was seen the next day by Mental Health Provider (“MHP”) Darren Nealis for
23
     an “initial assessment.” Defendant Nealis wrote in the chart:
24

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                  Case 2:22-cv-01141 Document 1-2 Filed 08/15/22 Page 14 of 34


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 5          31.      Javier began refusing meals at this time.

 6          32.      In addition, the decomposition of Javier’s foot and leg—due to a blood clot in his

 7   groin—became obvious to even the casual observer. Sores and blisters that bled and released a

 8   dirty-looking, foul-smelling discharge were readily apparent to anyone even superficially

 9   interacting with Javier.

10          33.      Because of the vulnerability caused by his disability, according to medical records

11   Javier was “involved in several fights” during or shortly before this time period, “develop[ing]

12   trauma to the left head.”

13          34.      On the evening of September 19, Defendant Nealis attempted to assess Javier again,

14   ignoring his serious and obvious medical condition, writing in Javier’s medical chart:

15

16

17

18
                                                                                                            I
19          35.      Javier was seen by Licensed Practical Nurse (“LPN”) Cameron Carrillo roughly an

20
                                                                                                            I
     hour after Defendant Nealis’ referral. Defendant Carrillo did not assess Javier, however. He simply
           TAPIA, JAVIER AMADO 1011290 (2018167002)                               DEF PC 000288
21   observed that Javier did “not appear in distress,” noted that he did “not have any medical concern

22   at this time,” and otherwise ignored his serious and obvious medical condition.

23          36.      Mental health providers engaged with Javier and observed his serious and obvious

24   medical condition on September 20 (Defendant Duane Prather), September 26 (Defendant Darren
           TAPIA, JAVIER AMADO 1011290 (2018167002)
     FIRST AMENDED COMPLAINT - 13                                                  DEF PC 000289
                                                                             Galanda Broadman PLLC
25
     (NO. 21-2-04263-1 SEA)                                                  8606 35th Avenue NE, Ste. L1
                                                                             Mailing: P.O. Box 15146
                                                                             Seattle, WA 98115
                                                                             (206) 557-7509
                  Case 2:22-cv-01141 Document 1-2 Filed 08/15/22 Page 15 of 34


 1   Nealis), and September 28 (Defendant Jesus Perez), with no response. Javier continued to present

 2   as “confused and non-verbal,” but was not referred to or evaluated by a medical professional.

 3          37.      On September 29, Corrections Deputy Rick Oeltjen observed Javier’s serious

 4   medical condition and merely noted that Javier was exhibiting “disturbing mannerisms.” Defendant

 5   Oeltjen did not make a medical referral or take any steps to treat Javier’s obviously serious medical

 6   condition.

 7          38.      When informed of Javier’s serious and worsening medical condition, Dr. Miguel

 8   Balderrama ordered that Javier’s vitals be taken “once in the a.m.” for the next three days.

 9   Defendant Balderrama neither assessed Javier nor provided him with any semblance of medical

10   care. In fact, this order was Defendant Balderrama’s only participation in Javier’s medical care.

11          39.      Later that day, Elizabeth Warren, RN, allegedly “assessed” Javier by providing only

12   a verbal request for lunch and vitals, otherwise ignoring his obviously serious medical condition:

13          Inmate Tapia would not respond to me verbally when I asked him if he wanted lunch.
            He did look up at me but would not give me an answer. A search of his behavior log
14          indicates he has been refusing meals periodically. . . . Cell smells of urine. Sheet
            wrapped around waist. . . . Allowed assessment. 96.9, Apical pulse 100 , S1S2, slow,
15          even respirations , rate 14-16 , B/P 127/77.

16          40.      On September 30, Javier had no documented interaction with a health care

17   professional.

18          41.      On the morning of October 1, Debra Ricci, LPN, wrote that Javier “[r]efused” her

19   attempt to take his vitals—because he was nonresponsive as a result of his serious, worsening, and

20   untreated medical condition. Defendant Ricci otherwise ignored Javier’s obviously deteriorating

21   medical condition.

22          42.      Later in the day, Ashley Chalk, RN, wrote:

23

24

25   FIRST AMENDED COMPLAINT - 14                                             Galanda Broadman PLLC
     (NO. 21-2-04263-1 SEA)                                                   8606 35th Avenue NE, Ste. L1
                                                                              Mailing: P.O. Box 15146
                                                                              Seattle, WA 98115
                                                                              (206) 557-7509
                                       (D5VV) 250 ml IV
 formation                            (VANCOCIN)              mg                                                    MD
                                       piggyback
                                      1,250 mg in
                                      Case
                                      dextrose
                                   TAPIA,
                                               2:22-cv-01141
                                            Javier5 %
                                                    (MR# 858586)
                                                                       Document 1-2                  Filed 08/15/22 Page 16 of 34
                                    No(D5VV)
                                        current250outpatient
                                                     ml IV      prescriptions  on file.
                                                  10/4/2018 1.31 PM
                                   Selected
                                      piggyback Notes/Transcriptions         (continued)
           1 1IT111111111111111111111111111
 11°if111i11111if1i
        1-111ttff   Consults
                     Patients  by Arni Raafat,  MD at 10/01/181609                              (continued)
                     No currentdocumented    allergies
                                outpatient prescriptions on file.
                                  43.     Javier
                                   IMPRESSION
                                    No Known     “was sent to Tacoma General Hospital for a swollen, black foot” for what RN
                                              Allergies
                 2            PRELIMINARY TECHNOLOGIST FINDINGS: The left common femoral, femoral,
                              popliteal,
                               ROS: denies      posterior tibial,         peroneal, greater and short saphenous, and
 otes/TranscriptionsChalk described
                               Patients       as   “suspected
                                             documented                gangrene.”
                                                                 allergies
                              gastrocnemius
                               No Known Allergies       veins are noncompressible with intraluminal hypoechoic
  Arni Raafat,3MD at 10/01/181609
                              material.
                               PHYSICAL        Material
                                                    EXAM:    is occlusive with absent color fill and silent
Ami Raafat, MD               44.  Service:
                              dopplers.
                               ROS:        ByUnable
                                        denies   this
                                                 (none) time,
                                                            to ruleit wasout noted
                                                                               proximal    by extension
                                                                                                correctional
                                                                                                 Author Type:        officers,
                                                                                                                duePhysician
                                                                                                                       to overlying  Javier    hadgas
                                                                                                                                           bowel    lost approximately 20
 01 /18 1640 4                    Date of
                                obscuring
                                BP:(!)         Service:
                                            '123/Hl7,        10/01/18
                                                  vessel Temp:
                                                             of interest.
                                                                       98.4 1609°F (36.9 °C),    Status:
                                                                                                      Temp  Signed
                                                                                                                 src: Oral, Pulse: 89, Resp: 18, SpO2: 99 %, Height: 5' 7"
mi Raafat, MD (Physician)
                    lbs. in MultiCare
                            the   preceding
                               (170.2
                               PHYSICAL    cm), EXAM:two weeks—again,
                                                    Weight:       168 lb (76.2 kg)
                                                                              10/4/2018
                                                                                         an obvious,  1:32:03
                                                                                                              serious,      worsening medical
                                                                                                                        PM°C),PAGE
                                                                                                                                                         condition   that was
                                                                                                                                                              Fax Server
                               Temp Left
                              Xray       (24hrs),
                                                foot    Avg:98.4 °F (36.9               °C), Min:98.4         °F (36.9               Max:98.46/050°F (36.9 °C)
 SULTATION 5 NOTE
                               BP:(!) '123/Hl7, Temp: 98.4 °F (36.9 °C), Temp src: Oral, Pulse: 89, Resp: 18, SpO2: 99 %, Height: 5' 7"
                    ignored There
                              by   County
                               (170.2
                                10/1/2018:cm),
                                         is
                                                   and NaphCare
                                                  Weight:
                                                   Weight:
                                              moderate         168
                                                                 168lblb(76.2
                                                               diffuse
                                                                              employees.
                                                                             (76.2
                                                                           soft     kg)kg) swelling over the forefoot. A mild
                                                                                   tissue
TION REQUESTED BY: Dr. Deleon                        (ED) and        Dr. Shah         (MIS)
              6               Temp
                            MultiCare   (24hrs),      Avg:98.4
                              amount of soft tissue swelling         °F   (36.9
                                                                         10/4/2018  °C), Min:98.4
                                                                                  about      the         °F (36.9
                                                                                                   midfoot
                                                                                               1:32:03        PM      °C),
                                                                                                                 is also
                                                                                                                       PAGE  Max:98.4
                                                                                                                            noted.          °F (36.9
                                                                                                                                        Underlying
                                                                                                                                      6/050        Fax°C)Server
 consult: gangrene/infection45.            Intake      notes      from the         Tacoma
                                                                                       without General           ED indicate           as follows, in relevant part:
                               PHYSICAL
                              skeletal
                             TAPIA,      Javier     EXAM
                                             structures
                                                    (MR#      appear
                                                              858586)       intact                 acute fracture          or dislocation
                                  of foot
                               10/1/2018:        Weight:      168    lb deformities
                                                                         (76.2sickly
                                                                                   kg) appearance,
              7                GENERAL
                              seen.                APPEARANCE:
                                         No significant          foot                        are identified.lying in bed tremulous
                             Selected
                               CHEST:
                                IMPRESSION:    Notes/Transcriptions
                                               clear    bilaterally                  (continued)
OF PRESENT ILLNESS: 36            yo male incarcerated
                               PHYSICAL           EXAM                  since June 2018
                               CV:
                             Consults
                             TAPIA,   no
                              1. Moderate    murmur,
                                        Javierby(MR#diffuse
                                                   Arni    normal
                                                         Raafat,softMD
                                                          858586)        bp
                                                                        tissue      swelling of the
                                                                            at 10/01/181609                 forefoot and lesser degree
                                                                                                       (continued)
 n            8               GENERAL
                               ABDOMEN:
                              the   midfoot
                                                 APPEARANCE:
                                                     soft,
                                                   region.   nontender
                                                               No
                                                                            sickly appearance, lying in bed tremulous
 h approx 7 day hx of foot LLE  and - leg
                                        swellling
                                              pain,    of calf
                                                       gangrene   to radiopaque
                                                                      foot
                                                                        of    with noted
                                                                             toes         foreign
                                                                                      black            bodies are
                                                                                                gangrenous
                                                                                                in ED              skin detected.
                                                                                                                           changes of entire forefoot and all toes, unable to move
                              CHEST:
                               SKIN:
                             Selected        clearLLE
                                          cool        bilaterally
                                                          from
                                             Notes/Transcriptions  below       knee     to
                                                                               (continued)  foot,    (temp      change      just below knee)
ble prior to admit            2.  No    acute      fracture      or   dislocation
                             toes, cold forefoot, cool hindfoot and lower calf            left  foot   identified.
                              CV:   no     murmur, normal bp
re in ED      9                cold mildly
                             Consults
                             Calf     forefoot
                                            by  Arni   Raafat,
                                                 swollen
                              ABDOMEN: soft, nontender
                                                              and MD   at
                                                                     tender10/01/181609
                                                                                 to  touch,    (continued)
                                                                                                 no  streaking      of    cellulitis   up the leg though the calf is mildly
                              LLE - swellling of calf to foot with black gangrenous skin changes of entire forefoot and all toes, unable to move
                             erythematous
                              SKIN:      cool LLE from below knee to foot, (temp change just below knee)
                                Extremities
                             toes,   cold forefoot,
                              Palpable        PT, faintcool DPhindfoot
                                                                   on left and lower calf
  levated to 10
             1 .65            ASSESSMENT/
                              cold   forefoot              PLAN
                                RLEmildly
                             Calf
                             Able
                              LLE    to- warm
                                     with  movevenousand
                                               swollen
                                                     leg andwelltender
                                                           but   not
                                                            outflow perfused,
                                                                       toes,     canbounding
                                                                           to touch,
                                                                          obstruction    no streaking
                                                                                        move          pulses
                                                                                                  slightly ofatcellulitis
                                                                                                                  ankle up the leg though the calf is mildly
                             erythematous
                             Sensory         deficit   at  forefoot,       sensation        preserved        in  hind    foot
                              Likely     cellulitis/erythema related to vascular
                               Extremities                                                                outflow      causing       inflowTAPIA,
                                                                                                                                              issue Javier
                                                                                                                                                     as well
             11               Palpable
                              Possible
                                             PT, faint DP on left
                                               phlegmasia          cerulea       dolens
                                                                                              TACOMA
                                                                                             with    gangrene
                                                                                                              GENERAL
                                                                                                                      - likely    to  need    anticoagulation/embolectomy
                               RLE    - warm       and   well    perfused,        bounding
                             Able to move leg but not toes, can move slightly at ankle            pulses
                                                                                              HOSPITAL                                     MRN     858586,  DOB 3/3/1982, Sex M
                              LABS:                                                           315 in MLK                                   Adm 10/1/2018, D/C -
or concern regarding nee Sensory
                               fasciitis deficit at forefoot, sensation preserved                       hindJR    WAY
                                                                                                               foot
             12
 gery also consulted          No evidence for nee fasciitis or compartment               TACOMA
                                                                                              TACOMA    GENERAL
                                                                                                             WA 98405-4234TAPIA, Javier
                                                                                                           syndrome
 g paitent                   46.
                              Agree with vascular surgery consult and admit to MIS D. Garcia,
                              Lactate:
                             LABS:         Javier      was      then      examined           by
                                                                                         HOSPITAL
                                                                                              EMR  Dr. FS  Nicholas
                                                                                                           v7.1                                who noted
                                                                                                                                     MRN 858586,               as follows,
                                                                                                                                                      DOB 3/3/1982,   Sex Min
                               Page 5                                                    315 MLK JR WAY                              Adm 10/1/2018, D/CPrinted
                                                                                                                                                             -     by 45286 at 10/4/18 1 31 PM
                              Likely     to need tissue debridement TACOMA               at later date
             13                                                                                         WA    98405-4234                                           DEF PC 000086
 wed. No pertinent  relevant    part: TAPIA,
                              Lactate:
                              Defer
                        past medical
                              10/01/2018
                                        tohistory.
                                              vascular JAVIER
                                                            surgeryAMADO 1011290         EMR FS v7.1
                                                                                                        (2018167002)
                               Page 5                                                                                                               Printed by 45286 at 10/4/18 1 31 PM
gical history14on file.                TAPIA, JAVIER
                              No intervention                      AMADO
                                                         per General               1011290 (2018167002)
                                                                               Surgery                                                                      DEF PC 000086
                        [H]as    had at least two weeks, possibly up to 1 mos of left leg pain and inability
                         10/01/2018
                        to
           15 blood clots,
STORY: Denies               walk    on with
                              bleeding
                         Discussed       leg.   HeShah
                                           disorders
                                               Dr.    also   has left leg paralysis of unclear duration but likely over
                                                         in family
                        a week
                             WBC
                                    per   his  limited     history.    . . . His study notes dilatated veins             but clot appears
                                                                                                                10/01/2018 01 :00 PM
STORY: Former IV drug subacute in jail,and
                         use,HGT            indeterminate
                                         guards        bedside age
                                                   at 45.6              of clot.denies
                                                                   currently,      . . . Guards
                                                                                          smoking that
                                                                                                     everare with     patient today      state
           16                                                                                                   10/01/2018      01 :00 PM
                        patient
                         AmiWBC    had change
                               Raafat,
                             PLT           MD       last month and became more confused                     and 10/01/2018
                                                                                                                 need
                                                                                                        10/01/2018
                                                                                                                         to be transferred
                                                                                                                     01 :00 PM 01 :00 PM

                        to
                            HGT
                         Trauma/ACSS
                           “old               and 45.6
                                                     Surgical Critical      Care and more supervision   10/01/2018 01 :00 PM
           17
spital admission)           PLT jail” which
                         253-888-9497
                                                    involves
                                             work cell
                                                                 living alone                           10/01/2018and01 these
                                                                                                                        :00 PMindividuals
                        unable     to   be  in  general      population.
                         ACSS 24 hr pager 253-252-1594 (after hours)
                                                                               . .  .  Gait:  Not   observed,      unable     to walk for
           18           multiple
                         ACSS short  weaks      [sic]. .253-442-4354
                                           call pager     . . If this presentation
                                                                              (before 1waspm) less than 24-36 hours and potential
                        salvage
                             NA of limb/digits/function135             were still present then fasciotomy             and consideration
                                                                                                                10/01/2018      01 :00 PM
Cl (NS)
           19           of catheter directed thrombolysis would be necessary. However, fasciotomy
                  IntravenousK
                            NA            continuous
                                                   135 4.4  Lyndsey      Deleon,                                10/01/2018
                                                                                                        10/01/2018   01 :00  PM 01 :00 PM with
 oln                        KCL                    4.498 MD                                                     10/01/2018
                                                                                                        10/01/2018   01 :00 PM 01 :00 PM
                        thisCLdegree
                             CO2
                                         of  venous98 26
                                                        occlusion      and    associated     venous    hypertension
                                                                                                                10/01/2018
                                                                                                        10/01/2018
                                                                                                                          would     likely
                                                                                                                     01 :00 PM 01 :00 PM
                                                                                                                                            be
           20           associated
                         TACOMA
                             BUN
                            CO2          with
                                     GENERAL    significant
                                                   26             bleeding
                                                               TAPIA,    Javier and    unreasonable
                                                                         END OF SELECTED 10/01/2018      to  proceed
                                                                                                         NOTES            with
                                                                                                                     REPORT
                                                                                                                10/01/2018        this
                                                                                                                     01 :00 PM 01 :00 PMgiven
                        current
                         HOSPITAL
                            BUN
                             CREA  information. If CK’s        MRN  after  hydration
                                                                       858586,     DOB continue
                                                                                         3/3/1982, Sexto10/01/2018
                                                                                                         escalate    then
                                                                                                            M 10/01/2018
                                                                                                                     01 :00 fasciotomy
                                                                                                                             PM 01 :00 PMor
                         315CREA
                              MLK JR WAY                       Adm 10/1/2018, D/C -                     10/01/2018   01 :00 PM 01 :00 PM
           21           leg    amputation
                             GLU
                         TACOMA
                            GLU      WA 98405-4234would        need     to    be     considered      to    prevent
                                                                                                        10/01/2018
                                                                                                                       complication
                                                                                                                10/01/2018
                                                                                                                     01 :00 PM 01 :00 PM
                                                                                                                                            of
                             CA                        9.1                                                      10/01/2018
                        rhabdomyolysis.
                         EMRCAFS v7.1            Given
                                                   9.1     chronicity of        symptoms
                                                                            TACOMA             and appearance
                                                                                         GENERAL                     and
                                                                                                                TAPIA,
                                                                                                        10/01/2018          dysfunction
                                                                                                                     01 :00Javier
                                                                                                                             PM             of
                        left foot,   I  suspect    CK     may    be   trending     down
                                                                                 Printed
                                                                             HOSPITAL     byat45286
                                                                                               this point    and
                                                                                                     at 10/4/18   next
                                                                                                                   1 31 PM
                                                                                                                 MRN      24  hours
                                                                                                                         858586,    DOBof  CK
                                                                                                                                           3/3/1982, Sex M
A, JAVIER22 AMADO 1011290 (2018167002)                                       315 MLK JRDEF   WAYPC 000085 Adm 10/1/2018, D/C -
                        while on heparin will be necessary                  TACOMA information
                                                                                         WA 98405-4234for additional treatment
           23           recommendations. Regarding catheter                  EMR directed
                                                                                    FS v7.1 thrombolysis usually only helpful
                        for SGOT
                         Pageacute clot <14 days, history of left leg dysfunction which10/01/2018
                                 7                                                                                  may or may         not by
                                                                                                                                   Printed  be45286 at 10/4/18                    1 31 PM
                            SGOTTAPIA,      JAVIER        AMADO        1011290        (2018167002)      10/01/2018 01 :00 PM 01 :00 PMDEF PC 000088
           24           accurate
                             SGPT suggest longer
                            SGPT                   57 57
                                                              duration of venous thrombosis                 and 10/01/2018
                                                                                                        10/01/2018
                                                                                                                  also    risk of catheter
                                                                                                                     01 :00 PM 01 :00 PM
                                ALP
                                ALP        87 87                                                                          10/01/2018
                                                                                                                  10/01/2018 01 :00 PM 01 :00 PM
                                 BILT
                                BILT                                                                                      10/01/2018
                                                                                                                  10/01/2018 01 :00 PM 01 :00 PM
               25      FIRST AMENDED COMPLAINT - 15                                                                          Galanda Broadman PLLC
                                ALB
                                ALB        4.04.0                                                                         10/01/2018
                                                                                                                  10/01/2018 01 :00 PM 01 :00 PM
                       (NO. 21-2-04263-1 SEA)                                                                                   8606 35th Avenue NE, Ste. L1
                                                                                                                                Mailing: P.O. Box 15146
                                                                                                                                Seattle, WA 98115
                                   DIAGNOSTICS:
                                   DIAGNOSTICS:                                                                                 (206) 557-7509
                                   Left
                                   Left LE
                                         LE- -venous
                                               venousduplex
                                                       duplex
                                                                              TACOMA GENERAL
                                                                                  TACOMA GENERAL                TAPIA, Javier
                                                                                                                        TAPIA, Javier
         pedal pulses present, left pedal pulses absent.
         ABDOMEN: Soft, nontender, nondistended, no obvious hepatomegaly, splenomegaly, or masses appreciated.
                 Case 2:22-cv-01141 Document 1-2 Filed 08/15/22 Page 17 of 34
         Normoactive BS.
         BACK: Negative CVAT. No spinal or paraspinal tenderness.
         SKIN: Warm, dry, and absent of obvious rashes and lesions other than his left lower extremity. Fingers had
         spooning of the fingernails.
 1           directed thrombolysis
         EXTREMITIES:       Clubbing of the likely   unreasonable
                                                fingernails.           at this
                                                              Peripheral       point
                                                                          pulses       givenand
                                                                                   palpable   information
                                                                                                 equal.       and current
         NEUparalyzed
               RO: Alert tolimb
                             self, of  unclear
                                    location,     duration
                                               year,          withTremulous,
                                                      not to date.   venous gangrene
                                                                                 remembered and1/3
                                                                                                paralyzed
                                                                                                   items on limb.
                                                                                                              memory testing, 2/3
 2       with prompting, serial 7s x1, was able to spell "world" forwards but not backwards. Able to lift lower extremity
         against gravity at knee, unable to flex or move at ankle. Hyperalgesia to left foot, sensation decreased on
             47. of leftDr.
         dorsum              Lucas
                         foot, CN 2-12 Labine    alsointact.
                                            grossly     conducted     a psychological
                                                             Grip strength                  examination
                                                                            5/5, left arm handcuffed        on Javier:
                                                                                                        to bed, unable to complete
 3       upper extremity strength. Strength 5/5 in LE, 2/4 in left leg. Unable to satisfactorily test DTR state of patient.
         PSYCHIATRIC: Oriented to person, place, year; Mood - alert, nervous and Affect - normal. No visual or
         auditory hallucinations. No tangential or circumferential thought processes. Judgement clear and intact.
 4       Speech clear.

 5       LABS:
             48.      The next day, October 2, Dr. Labine hypothesized that Javier’s reported mental
         0 CBC \AJ!TH D!FF
 6          Collection Time: 10/01/18
                                   1 :00 PM
     health issues may have been “due   to azotemia / uremia,” “other metabolic or vasculitis process,” or
            WBC                                                 17.81 (H)                      4.00 - 12.00 K/uL
 7   “neoplasm”—in
            RBC    other words, caused by his serious,
                                                 5.35 obvious, and worsening  medical
                                                                       4.50 - 6.00 mil/uLcondition—
             Hgb                                                15.8                           14.0 - 18.0 g/dL
 8           Hct                                                45.6
     and noted that Javier would “likely need brain imaging when renal function is improved.”
                                                                                               40 - 54 %

                                           TACOMA GENERAL         TAPIA, Javier
 9          49.
                                           HOSPITAL
                   By October 3, Drs. Labine
                                           315 MLKand
                                                                   MRN 858586, DOB 3/3/1982, Sex M
                                                       Garcia had set out to “medically revascularize as
                                                   JR WAY
                                           TACOMA WA 98405-4234
10   muchPage
          as possible
                                           EMR SN v7.1
                      in order to do the least amount of amputation possible”Printed
                                                                                by using  “catheter   directed
              14                                                                      by 45286 at 10/4/18 1 31 PM
               TAPIA, JAVIER AMADO 1011290 (2018167002)                                               DEF PC 000095
11   thrombolysis in an attempt to revascularize thigh area.”
12           50.      Javier’s left foot, however, was “not salvageable,” given the “long standing event
13   (weeks, likely)” and because “foot paralysis already present on admission.”
14           51.      Dr. Labine assured Javier “that we are doing all we can to salvage what we can of
15   his limb, and that the medical team is well aware of what a drastic and life-changing step an
16   amputation will be for him.” Dr. Labine also noted that there was “[n]o clear indication for
17   psychiatric intervention at this time,” but that Javier’s “[s]evere malnutrition” needed to be
18   addressed.
19           52.      By October 14, it became clear that thrombolytic therapy would not salvage Javier’s
20   leg. As noted by Dr. Branson Propper:
21           Unfortunately, following the therapy [Javier] developed ischemia of the forefoot
             with significant swelling, necrosis of the tissue, and then on top of that a subsequent
22           infection. I discussed with him over the past few days, the need for amputation
             given that he appeared to have what would be ascending cellulitis in the setting of
23           post venous thrombotic syndrome. He was unwilling to proceed with amputation
             and waited a few days. Things did seem to get worse, and his white count seems to
24           be high. Finally, I was able to convince him that this was likely going to be a
25   FIRST AMENDED COMPLAINT - 16                                                              Galanda Broadman PLLC
     (NO. 21-2-04263-1 SEA)                                                                    8606 35th Avenue NE, Ste. L1
                                                                                               Mailing: P.O. Box 15146
                                                                                               Seattle, WA 98115
                                                                                               (206) 557-7509
      Jonathon Slothower RN
                CaseAdministrator
      Health Services 2:22-cv-01141 Document 1-2 Filed 08/15/22 Page 18 of 34
      Pierce County Detention and Corrections Center
      910 Tacoma Avenue South
      Tacoma, WA 98402
 1    O: (253) problem
               798-4264 if we continue to wait as I thought he would                           likely have an ascending
      C: (425) infection
               633-9464 that got worse and he consented to surgery.
 2    F: (253) 798-3388
      E: jonathon.slothower@naphcare.com
               53.        Javier’s leg was then amputated just below the knee.
 3    From: Elliot Wade
               54. JuneOn
     Sent: Tuesday,           June2:10
                          16, 2020  16,PM2020—less than a             week after Javier filed a Claim for Damages with
 4   To: Elizabeth Warren; Cameron Carrillo; Ashley Valencia Chalk
     Cc: Jonathon Slothower
     Pierce County pursuant             to Chapter 4.96 RCW—Elliot Wade, NaphCare’s Corporate Medical
     Subject: thank you
 5
     Director,   emailed
     Good afternoon -    LPN Carrillo, RN Warren, and RN Chalk:
 6
      A few times per week, l am asked by our legal department to review a chart, in regards to the care provided by the staff. Usually
      it's a former patient seeking a claim for damages.
 7
      Specifically, Javier Tapia, who was in custody June to November 2018. Your notes were not lengthy at all, but they contained all of
 8    the necessary information needed at the time. And helped to establish that he was seen and taken seriously. And in my opinion,
      had you not seen him immediately on October 1·1 2018, called the provider and had him sent to the hospital, he may have died.
 9
      So thanks to you, he's alive. He's mad about his below the knee amputation, but in my opinion you did everything right and he's
      lucky.
10
      I know that this is often a thankless job, and just wanted to reach out and thank you all for the great job you did with him. Please
11   B.       PIERCE COUNTY AND NAPHCARE POLICY AND ESTABLISHED PRACTICE – MONELL,
     continue to put in the hard work, as it does not go unnoticed.
              SUPERVISORY, AND POLICYMAKING LIABILITY
12    Again, thank you.
               55.        The loss of Javier’s limb was tragic and could have been prevented by standard
      Elliot L Wade MD
13    Medical Director, Western States
     approaches       to medical and mental health care management.
      City of Las Vegas Detention Center Medical Director
14    elliot.wade@naphcare.com
                56. officeThe policies, established procedures, and protocols
     702.322.1045                                                                                in place at the Jail—maintained
15   404.569.6256 cell
     vis-à-vis its Supervisory and Policymaking Defendants and NaphCare—put Javier and all other
16
     similarly situated patients at an increased risk of serious harm and death.
17
               57.        That these policies, established procedures, and protocols would put similarly
18
     situated patients at an increased risk of serious harm and death would be obvious to any medical or
19
     mental health professional exercising his or her professional judgment.
20
               58.        Pierce County—vis-à-vis its Supervisory and Policymaking Defendants and
21                                           DEF PC 906629
     NaphCare—also failed to adequately train its employees, resulting in a condition that put Javier and
22
     all other similarly situated patients at an increased risk of serious harm and death.
23

24

25   FIRST AMENDED COMPLAINT - 17                                                                      Galanda Broadman PLLC
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                  Case 2:22-cv-01141 Document 1-2 Filed 08/15/22 Page 19 of 34


 1          59.      That this failure to train would put similarly situated patients at an increased risk of

 2   serious harm and death would be obvious to any medical or mental health professional exercising

 3   his or her professional judgment.

 4          60.      Javier would have not lost his limb had jailers and medical and mental health staff

 5   not been indifferent to his needs.

 6          61.      Jailers and medical and mental health staff’s indifference to Javier’s serious medical

 7   needs was ratified by Supervisory and Policymaking Defendants and NaphCare.

 8          62.      Despite knowledge of Javier’s serious medical needs, jailers and medical and mental

 9   health staff failed to administer and attend to him. As a result, Javier had to have his leg and foot

10   amputated.

11          63.      All of the acts and omissions taken in regard to the care and custody of Javier were

12   in accordance with Pierce County’s established practices and/or were ratified by the Policymaking

13   and Supervisory Defendants and/or NaphCare.

14          64.      It is a common and widespread practice at the Jail and NaphCare to ignore

15   information related to serious medical conditions in a measured attempt to avoid liability in a

16   deliberate indifference action, by claiming a lack of knowledge.

17          65.      Pierce County, NaphCare, and their Policymaking and Supervisory Defendants were

18   also negligent and deliberately indifferent when they failed to adequately train individual

19   Defendants. These individual Defendants failed to perform their duties as described in this

20   Complaint due to inadequate training. Pierce County, NaphCare, and their Policymaking and

21   Supervisory Defendants knew that their training inadequately instructed its employees but did

22   nothing to change this policy.

23          66.      Pierce County, NaphCare, and their Policymaking and Supervisory Defendants

24   failed to train officers and employees to properly monitor and to protect inmates.

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                   Case 2:22-cv-01141 Document 1-2 Filed 08/15/22 Page 20 of 34


 1           67.      Pierce County, NaphCare, and their Policymaking and Supervisory Defendants

 2   failed to train officers and employees to properly identify and monitor at-risk inmates.

 3           68.      Pierce County, NaphCare, and their Policymaking and Supervisory Defendants

 4   failed to enforce the aforesaid policies and procedures by disciplining officers and employees or by

 5   other means.

 6           69.      Pierce County, NaphCare, and their Policymaking and Supervisory Defendants

 7   caused, permitted, and allowed a custom and practice of continued and persistent deviations from

 8   policies and procedures.

 9           70.      Pierce County, NaphCare, and their Policymaking and Supervisory Defendants

10   maintained inadequate monitoring and safety check systems.

11           71.      Pierce County, NaphCare, and their Policymaking and Supervisory Defendants

12   failed to create systems of information sharing, communication, and clearly delineated roles and

13   lines of authority for County Jail staff and medical providers

14           72.      Pierce County, NaphCare, and their Policymaking and Supervisory Defendants

15   failed to provide sufficient resources to provide for the necessary medical care for mentally ill

16   inmates.

17           73.      Pierce County, NaphCare, and their Policymaking and Supervisory Defendants

18   maintained a policy of not regularly monitoring inmates.

19           74.      In order to save money, Pierce County, NaphCare, and their Policymaking and

20   Supervisory Defendants maintained a policy of refusing to admit patients in need of medical care

21   to appropriate clinical settings (e.g., hospitalization).

22           75.      In fact, saving money is at the heart of Pierce County’s

23

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                   Case 2:22-cv-01141 Document 1-2 Filed 08/15/22 Page 21 of 34


 1           76.      Each of the above policies and established practices amounts to negligence and

 2   deliberate indifference to the known and/or obvious serious medical and safety needs of at-risk

 3   detainees, including Javier.

 4           77.      Pierce County employees and subcontractors deliberately did not comply with

 5   formal policies and national standards, which evidences their deliberate indifference and

 6   negligence. See Salter v. Booker, No. 12-0174, 2016 WL 3645196, at *12 (S.D. Ala. June 29, 2016)

 7   (“Defendants acted with deliberate indifference when they failed to enforce or follow the written

 8   jail policies and procedures . . . .”).

 9           78.      Defendants are not even trying—they have been negligent, grossly negligent, and

10   have showed deliberate indifference to the medical and safety needs of the inmates at the Jail. This

11   includes, again, failing to have and follow proper training, policies, and procedures for the care and

12   treatment of people in the Jail. It also includes a cold-hearted attitude on the part of staff and

13   subcontractors, who ignore medical and safety harms as they present and who refuse to properly

14   observe or listen to people who have serious medical and safety needs.

15           79.      Each and every individually named Defendant had knowledge that a substantial risk

16   of serious harm existed as to Javier’s health and safety.

17           80.      Pierce County, NaphCare, and their Policymaking and Supervisory Defendants had

18   knowledge that their policies, customs, and/or protocols created a substantial risk of serious harm

19   as to Javier’s health and safety because they had resulted in serious harm in the past. NaphCare’s

20   policies and established practices have resulted in hundreds, if not thousands, of deaths across the

21   Nation, as evidenced by the fact that “NaphCare, Inc. is no stranger to these claims” because it has

22   been sued for its constitutionally inadequate policies and established practices as described above

23   approximately 150 times. Johnson v. NaphCare, Inc., No. 19-54, 2022 WL 306981, at *18 (S.D.

24   Ohio Feb. 2, 2022); see, e.g., Brown v. Clark Cnty. Det. Ctr., No. 15-1670, 2018 WL 1457292, at

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                Case 2:22-cv-01141 Document 1-2 Filed 08/15/22 Page 22 of 34


 1   *7 (D. Nev. Mar. 23, 2018) (“NaphCare has a policy of denying off-site care as a cost-control

 2   measure.”); Sitton v. LVMPD, No. 17-111, 2020 WL 1916171, at *4 (D. Nev. Apr. 20, 2020)

 3   (same); Bruins v. Osborn, No. 15-324, 2016 WL 8732299, at *3 (D. Nev. Feb. 5, 2016) (“Naphcare

 4   had a policy of understaffing medical personnel”); Bruins v. Osborn, No. 15-324, 2016 WL

 5   8732299, at *3 (D. Nev. Feb. 5, 2016) (“NaphCare medics and nurses could not send an inmate to

 6   the hospital absent a ‘life threatening’ issue”); O'Neal v. Las Vegas Metro. Police Dep't, No. 17-

 7   2765, 2018 WL 4088002, at *4 (D. Nev. Aug. 27, 2018) (“Naphcare had a policy of refusing

 8   medical treatment”); Cheek v. Nueces Cnty. Tex., No. 13-26, 2013 WL 4017132, at *20 (S.D. Tex.

 9   Aug. 5, 2013) (“Plaintiffs’ Complaint includes a litany of past instances of constitutional allegations

10   based on deliberate indifference to serious medical needs against NaphCare, including a policy of

11   cutting costs and maximizing profits to the detriment of the patients it serves.”). Pierce County,

12   too, is liable because it had constructive knowledge of these policy and established practice

13   deficiencies when it contracted with NaphCare and allowed it to continue to provide services in the

14   Jail. See O'Neal, 2018 WL 4088002, at *4 (“Although Naphcare provides the medical care at [the

15   jail, the] County remains liable for any constitutional deprivations caused by the policies, practices,

16   or customs of its contractor.”) (citing West v. Atkins, 487 U.S. 42, 56 (1988)). Pierce County is also

17   liable for its own constitutionally deficient policies and established practices, described above,

18   which were also well-known to cause harm and even death. See, e.g., Sullivan v. Cnty. of Pierce,

19   216 F.3d 1084 (9th Cir. 2000) (evidence of a Pierce County “policy of inadequate medical

20   treatment”); Whitmore v. Pierce Cnty. Dep't of Cmty. Corr., No. 05-5265, 2007 WL 2116402, at *6

21   (W.D. Wash. July 19, 2007) (alleging “policies and customs regarding staffing levels and medical

22   practices” that led to an inmate “not receiving constitutionally adequate mental health care”); Smith

23   v. Pierce Cnty., 218 F. Supp. 3d 1220, 1230 (W.D. Wash. 2016) (alleging that Pierce County

24   “maintained unconstitutional policies, procedures and customs with regard to . . . taking detainees

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                  Case 2:22-cv-01141 Document 1-2 Filed 08/15/22 Page 23 of 34


 1   to a hospital or acute care facility when symptoms increase, worsen or recur” and “a failure to

 2   “provide training on managing individuals who are suffering [from] severe and ongoing symptoms”

 3   due to medical needs).

 4          81.      Even if Pierce County and NaphCare did not have knowledge of the risk of harm

 5   created by their policies, customs, and/or protocols—and lack thereof/lack of training thereon/lack

 6   of funding to implement—the risk was obvious in light of reason and the basic general knowledge

 7   that these Defendants are presumed to have.

 8          82.      The acts and omissions caused by Defendants through their policies, practices, and

 9   customs—including inadequate staffing, training, preparation, procedures, supervision, and

10   discipline—were a proximate cause of Javier’s pain, suffering, and loss of his leg and foot.

11          83.      The aforesaid acts and omissions of Defendants deprived Javier of his right to be

12   free from cruel and unusual punishment and to due process of law as guaranteed by the Fourteenth

13   Amendment of the United States Constitution; directly caused and/or directly contributed to his

14   pain, suffering, and a general decline of his quality of life; directly caused and/or directly

15   contributed to cause his family to suffer loss of services, companionship, comfort, instruction,

16   guidance, counsel, training, and support; and directly caused and/or directly contributed to cause

17   his family to suffer pecuniary losses, including but not limited to medical expenses.

18          84.      Javier suffered extreme physical and mental pain, terror, humiliation, anxiety,

19   suffering, and emotional distress.

20          85.      Javier’s loss of his foot and leg was completely unnecessary and could have been

21   easily prevented via provision of even the most basic medical care and treatment.

22

23

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                  Case 2:22-cv-01141 Document 1-2 Filed 08/15/22 Page 24 of 34


 1                                               IV. CLAIMS

 2   A.     FIRST CAUSE OF ACTION – NEGLIGENCE, GROSS NEGLIGENCE, AND MEDICAL
            NEGLIGENCE – PIERCE COUNTY
 3
            86.      Defendants had a duty to care for inmates and provide reasonable safety and medical
 4
     and mental healthcare.
 5
            87.      This duty is an affirmative one under both Washington State and federal law because
 6
     prisoners, by virtue of incarceration, are unable to obtain medical care for themselves.
 7
            88.      Defendants breached this duty, and were negligent, when they failed to have and
 8
     follow proper training, policies, and procedures on the assessment of persons with apparent medical
 9
     and psychiatric needs.
10
            89.      Defendants breached this duty, and were negligent, when they failed pass on vital
11
     lifesaving information from one institution or person to another.
12
            90.      Defendants breached this duty, and were negligent, when they failed to adequately
13
     treat Javier’s medical needs. Indeed, because Javier’s obvious medical needs related to his blood
14
     clot condition were entirely ignored, Defendants were grossly negligent.
15
            91.      Defendants breached this duty, and were negligent, when they failed to have and
16
     follow proper training, policies, and procedures on the provision of reasonable and necessary
17
     medical care, treatment of inmates, and the passing on of information.
18
            92.      Defendants breached this duty, and were negligent, when they failed to ensure
19
     adequate and proper staffing at the Jail.
20
            93.      Defendants breached this duty, and were negligent, when they failed to ensure that
21
     Javier was properly supervised and/or that cell checks were conducted in a safe, timely, and
22
     consistent manner.
23
            94.      Defendants breached this duty, and were negligent, when they failed to ensure that
24

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                  Case 2:22-cv-01141 Document 1-2 Filed 08/15/22 Page 25 of 34


 1   Javier received necessary medication.

 2          95.      Defendants breached this duty, and were negligent, when they ignored notification

 3   of Javier’s serious medical condition.

 4          96.      Defendants breached this duty, and were negligent, when they failed to properly

 5   assess and treat Javier.

 6          97.      As a direct and proximate result of the breaches, failures, and negligence of

 7   Defendants, as described above and in other respects as well, Javier had to have his leg amputated

 8   just below the knee, resulting in extreme and ongoing pain, permanent physical disability, suffering,

 9   embarrassment, and terror.

10          98.      As a direct and proximate result of the breaches, failures, and negligence of

11   Defendants, as described above and in other respects as well, Javier has incurred and will continue

12   to incur economic and noneconomic damages in an amount to be determined at trial.

13          99.      Municipalities such as Pierce County have a long-standing and special duty to keep

14   inmates in health and safety. This duty requires officials to consider what is the safest and most

15   humane for the prisoners; and what is most conducive to their health, well-being, and safety, despite

16   the costs. As a matter of law, Washington courts have long recognized a jailer’s special relationship

17   with inmates, particularly the duty to ensure health, welfare, and safety. This heightened duty is

18   derived from the special relationship between custodians and the individuals entrusted to their care.

19   Inmates rely completely on the government to make decisions as to their safety and health care,

20   similar to students relying on schools, guests on innkeepers, and patients on hospitals. Contributory

21   negligence has no place in such a scheme, and Pierce County is therefore responsible for the

22   negligence of all Defendants described herein.

23

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                Case 2:22-cv-01141 Document 1-2 Filed 08/15/22 Page 26 of 34


 1   B.     SECOND CAUSE OF ACTION – CORPORATE NEGLIGENCE – NAPHCARE

 2          100.    Defendant NaphCare had a duty to select its employees with reasonable care and to

 3   supervise all persons practicing medicine under its corporate name and to ensure that they complied

 4   with the standard of care and did not put profits ahead of comprehensive patient care.

 5          101.    Defendant NaphCare breached this duty by failing to hire competent and properly

 6   trained employees, oversee care, implement safety policies designed to prevent harm to patients,

 7   and in many more regards, described above.

 8          102.    As a direct and proximate cause of the aforesaid failure to follow the standard of

 9   care to which NaphCare patients are entitled, Javier sustained pain, anguish, permanent physical

10   disability, and death.

11   C.     THIRD CAUSE OF ACTION – 42 U.S.C. § 1983 – PIERCE COUNTY, NAPHCARE, AND ALL
            INDIVIDUALLY NAMED DEFENDANTS
12
            103.    The acts and failure to act described above were done under color of law and are in
13
     violation of 42 U.S.C. § 1983, depriving Plaintiff of his civil rights.
14
            104.    At the time Javier was detained by Pierce County, it was clearly established in the
15
     law that the Fourteenth Amendment imposes a duty on jail officials to provide humane conditions
16
     of confinement, including adequate medical and mental health care, and to take reasonable
17
     measures to guarantee the safety of the inmates, including from self-harm.
18
            105.    Being subjected to unnecessary physical pain and suffering is simply not part of the
19
     penalty that criminal offenders pay for their offenses against society. As a result, municipalities,
20
     Jail officials, and subcontractors are liable if they know that an inmate or inmates face a substantial
21
     risk of serious harm and callously disregard that risk by failing to take reasonable measures to abate
22
     it.
23

24

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 1           106.    Here, Defendants knew that Javier faced a substantial risk of pain and anguish, yet

 2   callously disregarded that risk by failing to take reasonable measures to abate it.

 3           107.    Having an inmate in custody creates a duty of care that must include enough

 4   attention to mental health concerns that inmates with obvious symptoms receive medical attention.

 5   Defendants had numerous opportunities to meet their responsibilities to help Javier, but no one did.

 6   One cannot avoid responsibility by putting one’s head in the sand.

 7           108.    Here, Pierce County, NaphCare, and their Policymaking and Supervising

 8   Defendants knew of and callously disregarded the excessive risk to inmate health and safety caused

 9   by their inadequate formal and informal policies, including a lack of training, funding, and

10   supervision.

11           109.    Pierce County, NaphCare, and their Policymaking and Supervising Defendants

12   knew of this excessive risk to inmate health and safety because it was obvious and because

13   numerous other inmates had been injured and/or killed as a result of these inadequacies in the past.

14           110.    Pierce County, NaphCare, and their Policymaking and Supervising Defendants were

15   responsible for a policy, practice, or custom of maintaining a longstanding constitutionally deficient

16   safety and medical and mental health care, and training thereon, which placed inmates like Javier

17   at substantial risk.

18           111.    There was little to no supervision of Javier and inmates like him because Pierce

19   County, NaphCare, and their Policymaking and Supervising Defendants maintained a known policy

20   and custom of providing the cheapest care available, cutting corners to save and/or make money.

21   That this would result in serious injury or death would have been obvious to any corrections

22   management official exercising his or her professional judgment.

23           112.    Pierce County, NaphCare, and their Policymaking and Supervising Defendants had

24   an unwritten policy of understaffing and indifference to inmate supervision that was maintained

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                Case 2:22-cv-01141 Document 1-2 Filed 08/15/22 Page 28 of 34


 1   with deliberate indifference. Pierce County, NaphCare, and their Policymaking and Supervising

 2   Defendants know that the Jail is understaffed and undertrained, and that their employees often have

 3   trouble completing all of their duties as a result. Yet these Defendants failed to take any steps to

 4   correct these inadequacies.

 5          113.    Pierce County, NaphCare, and their Policymaking and Supervising Defendants had

 6   a policy, procedure, or custom of inadequate communication and coordination between staff. The

 7   Jail had no clear demarcation of responsibilities between corrections and medical staff with respect

 8   to at least, but not limited to, the assessment of inmate medical needs, integration of care between

 9   departments, and regularity of inmate chart/records review. This policy of inadequate

10   communication and coordination contributed to and caused Javier’s pain, suffering, and permanent

11   physical disability, and constituted deliberate indifference to Javier’s serious medical needs.

12          114.    With the exception of the Policymaking and Supervising Defendants, all

13   individually-named Defendants were subjectively aware that Javier was in dire need of treatment

14   for his deteriorating medical condition. Indeed, a quick glance at Javier—who was unable to walk

15   for “at least two weeks, possibly up to 1 mos” by the time he was finally taken to the hospital—

16   obviously revealed his immediate serious need for medical care. From this evidence, a reasonable

17   jailer and/or healthcare provider would have been compelled to infer that a substantial risk of

18   serious harm existed. Indeed, Defendants did infer that a substantial risk of serious harm existed

19   yet failed to take any steps to alleviate this risk. And Javier experienced extreme pain, suffering,

20   loss of limb, and permanent physical disability as a result.

21          115.    Pierce County, NaphCare, and their Policymaking and Supervising Defendants have

22   consistently failed to attend to the serious medical needs of inmates. Pierce County, NaphCare, and

23   their Policymaking and Supervising Defendants knew that there were numerous instances of under-

24   treatment and a failure to properly evaluate inmates, and that there were relatively inexpensive

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                Case 2:22-cv-01141 Document 1-2 Filed 08/15/22 Page 29 of 34


 1   prevention measures available. Yet these Defendants did not employ any of these measures. In

 2   addition, these Defendants knew that its employees were not providing adequate medical care, but

 3   continued to employ them nonetheless to avoid costs.

 4          116.    As a direct and proximate result of the deliberate indifference of Defendants, as

 5   described above and in other respects as well, Javier experienced—and continues to experience,

 6   extreme pain, permanent physical disability, suffering, anxiety, terror, and emotional distress. His

 7   life will never be the same.

 8          117.    These Defendants have shown reckless and callous disregard and indifference to

 9   inmates’ rights and safety and are therefore subject to an award of punitive damages to deter such

10   conduct in the future.

11   D.     FOURTH CAUSE OF ACTION – 42 U.S.C. § 12132 – PIERCE COUNTY

12          118.    The Americans with Disabilities Act (“ADA”) provides in its relevant part that “no

13   qualified individual with a disability shall, by reason of such disability, be excluded from

14   participation in or be denied the benefits of the services, programs, or activities of a public entity,

15   or be subjected to discrimination by any such entity.” 42 U.S.C. § 12132. A failure to reasonably

16   accommodate a person’s disability is an act of discrimination under the ADA. Per 28 C.F.R.

17   § 35.130(b)(7): “A public entity shall make reasonable modifications in policies, practices, or

18   procedures when the modifications are necessary to avoid discrimination on the basis of disability,

19   unless the public entity can demonstrate that making the modifications would fundamentally alter

20   the nature of the service, program, or activity.”

21          119.    Pierce County incarcerates significant numbers of individuals with disabilities, as

22   that term is defined in the ADA and the Rehabilitation Act (“RA”), as discussed below. Together

23   with Defendant NaphCare, these Defendants fail to provide inmates with disabilities with basic

24   reasonable accommodations to ensure equivalent access to all of the programs, activities, and

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                Case 2:22-cv-01141 Document 1-2 Filed 08/15/22 Page 30 of 34


 1   services offered at the Jail. These Defendants’ failure to accommodate prisoners with disabilities

 2   not only denies them access to prison programs and services, but also substantially increases the

 3   risk that they are injured in an emergency or are the victim of violence or abuse from other prisoners.

 4   Moreover, These Defendants’ refusal to accommodate prisoners with disabilities results in the

 5   provision of inadequate medical and mental health care.

 6          120.      For years, Pierce County and NaphCare have executed systemic and willful

 7   discrimination against, and failure to provide reasonable accommodations in programs, services,

 8   and activities to, inmates in the Jail who have, or are perceived to have, disabilities.

 9          121.      During his incarceration at the Jail, Javier, for instance, either had or was perceived

10   by Jail staff to have, present physical or mental impairments that qualified as disability—as alleged

11   above, he had a long-standing history of substance use disorder, exhibited behaviors consistent with

12   mental disability, and had difficulty, or was unable to, walk due the serious medical condition he

13   suffered from.

14          122.      Javier was denied access to services, including but not limited to, appropriate health

15   care services; and he was denied reasonable accommodations for his disabilities, including but not

16   limited to, accessibility aids/assistive devices, special housing, additional safety checks or other

17   security, because of his actual or perceived mental disability or substance use disorder.

18          123.      Pierce County and NaphCare lack adequate policies and practices for identifying

19   and tracking prisoners with disabilities and the accommodations those prisoners require.

20          124.      This systemic failure to accommodate inmates with disabilities results in the

21   widespread exclusion of prisoners with disabilities from many of the programs, services, and

22   activities offered by Pierce County and NaphCare, including health care services, exercise, religious

23   services, sleeping, and educational programs.

24

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                 Case 2:22-cv-01141 Document 1-2 Filed 08/15/22 Page 31 of 34


 1          125.    Moreover, Pierce County and NaphCare’s lack of adequate policies and procedures

 2   makes inmates with disabilities vulnerable to exploitation and violence by other inmates and

 3   increases their risk of serious injury or death.

 4          126.    Pierce County and NaphCare have an affirmative obligation to create and maintain

 5   a system to identify and track individuals with disabilities and the accommodations they require.

 6   Pierce County and NaphCare, however, lack adequate policies and practices for identifying

 7   individuals with disabilities and the reasonable accommodations they require.

 8          127.    Upon information and belief, the officers who are responsible for conducting

 9   medical and mental health assessments are not adequately trained by Pierce County and NaphCare

10   regarding how to identify and track individuals with disabilities, and therefore frequently fail to

11   identify inmates with disabilities or the accommodations they need to access Jail programs and

12   services.

13          128.    Pierce County and NaphCare’s failures to accurately identify inmates’ disabilities

14   and needed accommodations result in the denial of accommodations mandated by federal law,

15   placing inmates at risk of discrimination, injury, and/or exploitation.

16          129.    For example, during the last month of Javier’s incarceration his serious medical

17   condition was obviously worsening. Again, he could not walk for roughly a month, but was given

18   no assistance. He became visibly confused. He was either unintelligible or nonverbal and

19   nonresponsive. He was refusing food and became seriously malnourished. He suffered from poor

20   hygiene and smelled of urine or worse. He had outbursts, displayed “disturbing mannerisms,” and

21   was noted by Jail staff to be “[w]ay off his baseline.” During this time, he was observed hundreds

22   of times by Pierce County Corrections Deputies during cell checks, and had clinical interactions

23   with both Pierce County mental health staff and NaphCare medical staff, yet all failed to identify

24   his disability needs (or, identified and ignored them). This resulted in a lack of accommodations for

25   FIRST AMENDED COMPLAINT - 30                                              Galanda Broadman PLLC
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                Case 2:22-cv-01141 Document 1-2 Filed 08/15/22 Page 32 of 34


 1   his disability, to wit, health care services, exercise, adequate sleep, adequate nutrition, accessibility

 2   aids/assistive devices, and protection from other inmates necessitated by his vulnerability.

 3           130.    Pierce County and NaphCare lacked policies and practices to ensure that prisoners

 4   with disabilities who require assistive devices—including, but not limited to, wheelchairs, walkers,

 5   crutches, canes, and braces—are provided with and are allowed to retain those devices. These

 6   Defendants failed to adequately train staff in how to timely and appropriately provide assistive

 7   devices to prisoners with disabilities.

 8           131.    Because of Pierce County and NaphCare’s deficient disability screening and

 9   identification procedures, inmates, like Javier, who require assistive devices to access Jail programs

10   are frequently not identified. As a result, Javier, and those prisoners similarly situated, do not

11   receive needed assistive devices and cannot access the programs and services offered at the Jail.

12           132.    Pierce County and NaphCare failed to adequately train custody and health care staff

13   in how to provide appropriate and timely accommodations to prisoners with disabilities. The lack

14   of training is evident from the numerous failures to accommodate prisoners with disabilities, and

15   exclusion of prisoners with disabilities from equal access to programs, services, and activities they

16   offer, and placement of prisoners with disabilities at risk of injury and exploitation. As a result of

17   a lack of adequate training, custody and health care staff do not, among other failings, identify and

18   track individuals with disabilities and the accommodations they require, or provide equal access to

19   Jail services and programs.

20           133.    Because Pierce County remains liable for the unlawful acts of its agent, even if that

21   agent, a private entity, is not itself liable under Title II, Plaintiff’s ADA Claim is brought against

22   Pierce County only. Even though Javier does not have recourse under Title II directly against

23   NaphCare, he still has recourse against the government when a private contractor violates the ADA.

24

25   FIRST AMENDED COMPLAINT - 31                                                Galanda Broadman PLLC
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                Case 2:22-cv-01141 Document 1-2 Filed 08/15/22 Page 33 of 34


 1   Wilkins-Jones v. County of Alameda, No. 08-1485 2010 WL 4780291, at *4-9 (N.D. Cal. Nov. 16,

 2   2010); Duvall v. County of Kitsap, 260 F.3d 1124, 1141 (9th Cir. 2001).

 3   E.     FIFTH CAUSE OF ACTION – 29 U.S.C. § 701 – PIERCE COUNTY AND NAPHCARE

 4          134.       Like the ADA, Section 504 of the RA, 29 U.S.C. § 701, et seq., also requires the

 5   recipients of federal funds to reasonably accommodate persons with disabilities. The Jail is

 6   believed and therefore alleged to receive federal funds.

 7          135.       Although NaphCare is a private entity, it receives federal funds—NaphCare is, in

 8   fact, contractually obligated to seek them—and operates at the Jail under contract with Pierce

 9   County, and therefore is subject to Section 504 of the RA.

10          136.       As described above, Pierce County and NaphCare failed to institute adequate

11   policies and procedure or train its employees on how to accommodate individuals with disabilities,

12   such as Javier.

13                                          V.      JURY DEMAND

14          185.       Plaintiff hereby demand a trial by jury.

15                                          VI.     AMENDMENTS

16          186.       Plaintiff hereby reserves the right further to amend his Complaint.

17                                       VII.     RELIEF REQUESTED

18          187.       Damages have been suffered by Plaintiff and to the extent any state law limitations

19   on such damages are purposed to exist, they are inconsistent with the compensatory, remedial

20   and/or punitive purposes of federal law, and therefore any such alleged state law limitations must

21   be disregarded in favor of permitting an award of the damages prayed for herein.

22          188.       WHEREFORE, Plaintiff requests a judgment against all Defendants:

23                     (a)    Fashioning an appropriate remedy and awarding economic and noneconomic

24          damages, including damages for pain, suffering, terror, loss of consortium, and loss of

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              Case 2:22-cv-01141 Document 1-2 Filed 08/15/22 Page 34 of 34


 1         familial relations, and loss of society and companionship pursuant to 42 U.S.C. §§ 1983 and

 2         1988, in an amount to be determined at trial;

 3                (b)     Punitive damages;

 4                (c)     Awarding reasonable attorneys' fees and costs pursuant to 42 U.S.C. § 1988,

 5         or as otherwise available under the law;

 6                (d)     Declaring the defendants jointly and severally liable;

 7                (e)     Awarding any and all applicable interest on the judgment; and

 8                (f)     Awarding such other and further relief as the Court deems just and proper.

 9         Respectfully submitted this 18th day of July, 2022.

10
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11
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